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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


 KEVIN L. JOHNSON, K JOHNSON Civil Action No.: 1:20-CV-12478
 ENTERPRISES, LLC, K JOHNSON
 URBAN RENEWAL, LLC, TEAM85
 FITNESS AND WELLNESS, LLC,
 TEAM CAMPUS PHASE II, LLC, TEAM          CIVIL ACTION
 CAMPUS     SENIOR       LUXURY
 APARTMENTS, LLC

        Plaintiffs,

 vs.

 TOWNSHIP OF BORDENTOWN,
 FRANK NUCERA, JR., COLLEEN M.
 ECKERT, GEORGE HAEUBER,
 DAVID KOCIAN, MICHAEL
 THEOKAS, Individuals 1 through 10,
 such names being fictitious,
 Corporations A through J, such names
 being fictitious.

               Defendants.


                      FEDERAL RULE 7.1 DISCLOSURE STATEMENT

   Plaintiff Team Campus Phase II, LLC, by its counsel and pursuant to Rule 7.1 of the

Federal Rules of Civil Procedure, submits its Corporate Disclosure Statement as follows:

   1. Team Campus Phase II, LLC has no parent company; and

   2. No publicly held corporation owns 10% or more of its stock.

                                                          Respectfully Submitted,

                                                          By: s/ Larry E. Hardcastle, II
                                                          Larry E. Hardcastle, II
Dated: September 9, 2020
